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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Doctors for America, et al.,

                                Plaintiffs,

        v.                                       Case No. 1:25-cv-00322-JDB

 Office of Personnel Management, et al.,

                                Defendants.


                                          Status Report
    Pursuant to the commitment made in their April 18 Status Report, ECF No. 53,

Defendants submit this further status report regarding their “progress reviewing the

relevant webpages for compliance with Executive Order 14168,” “any modification to or

removal of a relevant webpage,” and the applicability of the Paperwork Reduction Act,

Information Quality Act, and Evidence-Based Policymaking Act “to a modified or

removed relevant webpage,” see February 24 Order, ECF No. 26 (directing filing of

March 21 Status Report and defining “relevant webpage”). 1

    Defendants had voluntarily maintained the relevant webpages following the

expiration of this Court’s temporary restraining order while they undertook an

individualized review of each relevant webpage. Defendants have now completed that

review. Based on the results, and following the submission of this Status Report,




1 The relevant webpages are those webpages and datasets identified on pages 6-12 of

Plaintiff’s brief in support of a temporary restraining order, ECF No. 6-1; specifically
identified in paragraphs 37-44 of Plaintiffs’ Amended Complaint, ECF No. 20; and
identified by Plaintiff pursuant to paragraph 2 of the Temporary Restraining Order,
ECF No. 11.
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Defendants will modify or remove the relevant websites as necessary to comply with

EO 14168.2 These processes are summarized below.

I.   Individualized Review of Relevant Webpages
     For each relevant webpage, Defendants considered the following:

     Compliance with EO 14168. Defendants assessed whether each relevant webpage

must be modified or removed to comply with EO 14168’s directives, including that

agencies “remove all statements, policies . . . communications, or other . . . external

messages that promote or otherwise inculcate gender ideology.” EO 14168 § 3(e).

     Status as “Significant Information Dissemination Product.” Under the Paperwork

Reduction Act (PRA), agencies must “provide adequate notice when initiating,

substantially modifying, or terminating significant information dissemination

products.” 44 U.S.C. § 3506(d)(3). Defendants assessed whether each relevant webpage

is a significant information dissemination product.

     In making that assessment, Defendants considered past guidance from the Office of

Management and Budget (OMB). See 61 Fed. Reg. 6428, 6448 (Feb. 20, 1996). That

guidance gave “[e]xamples of significant products,” including those that “(a) [a]re

required by law; (b) [i]nvolve expenditure of substantial funds; (c) [b]y reason of the

nature of the information, are matters of continuing public interest; e.g., a key economic
indicator; [or] (d) by reason of the time value of the information, command public

interest; e.g., monthly crop reports on the day of their release.” Id. Although the

guidance noted that agencies “should consider” whether members of the public view

“an existing agency product [as] important and necessary . . . before deciding to

terminate the product,” it emphasized that “[i]n all cases . . . determination of what is a




2 Defendants will also take any necessary action to bring each relevant webpage into

compliance with EO 14151.


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significant information dissemination product and what constitutes adequate notice are

matters of agency judgment.” Id.

    Information Quality Act. The Information Quality Act (IQA), Pub. L. 106-554,

§ 515, 114 Stat. 2763A-153 to -154 (2000), requires agencies to adopt “guidelines

ensuring and maximizing the quality, objectivity, utility, and integrity of

information . . . disseminated by the agency, and to “establish administrative

mechanisms allowing affected persons to seek and obtain correction of information

maintained and disseminated by the agency.” Id. § 115(b)(2)(A)-(B). HHS has issued

guidelines in accordance with this requirement. Plaintiffs have not pursued the

administrative correction remedy available under those guidelines, which are not

judicially enforceable. See, e.g., Muslim Advocs. v. U.S. Dep’t of Justice, No. 18-cv-02137,

2019 WL 3254230, at *7-11 (N.D. Cal. July 19, 2019). Moreover, the plain text of the IQA

and HHS’s guidelines govern the quality of information that agencies disseminate,

rather than the decision of whether to disseminate information at all. The IQA is

therefore inapplicable to the agency actions at issue in this case.

    Evidence-Based Policymaking Act. The Evidence-Based Policymaking Act (EBPA)

provides, in relevant part, that a “statistical agency or unit shall . . . produce and

disseminate relevant and timely statistical information,” “conduct credible and accurate

statistical activities,” and “conduct objective statistical activities,” in accordance with

OMB rules. 44 U.S.C. § 3563(a), (c). Each Defendant assessed whether it has been

designated as a statistical agency or unit subject to the EBPA and its implementing

regulations. Only two Defendants have been so designated—the Center for Behavioral

Health Statistics and Quality, and the National Center for Health Statistics (NCHS). 89

Fed. Reg. 82453, 82455 (Oct. 11, 2024). NCHS did not modify or remove any relevant

webpage to comply with EO 14168.




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II. Actions Following Individualized Review

    A. Relevant Webpages For Which Defendants Will Provide Notice of Possible
       Substantial Modification or Removal.
    Defendants did not determine that any relevant webpage is a significant

information dissemination product subject to the PRA’s notice requirement.

Nevertheless, for a small number of webpages, Defendants will provide notice of

potential modification or removal sufficient to satisfy the statute. Defendants have not

concluded that these webpages are significant information dissemination products, but

are providing notice out of an abundance of caution and as a courtesy to the public.

Defendants will provide notice as to the following webpages:

      Agency                  Page Name                               URL

 Centers for         CDC Contraceptive Guidance     https://www.cdc.gov/contracepti
 Disease Control     for Health Care Providers      on/hcp/contraceptive-
 and Prevention                                     guidance/index.html

 Centers for         U.S. MEC and U.S. SPR          https://www.cdc.gov/contracepti
 Disease Control     Provider Tools                 on/hcp/provider-tools/index.html
 and Prevention

 Food and Drug       Risk Evaluation and            https://www.fda.gov/drugs/drug
 Administration      Mitigation Strategies 3        -safety-and-availability/risk-
                                                    evaluation-and-mitigation-
                                                    strategies-rems

 HHS Office of       Protecting the Rights of       https://www.hhs.gov/ocr/lgbtqi/
 Civil Rights        Lesbian, Gay, Bisexual,        index.html
                     Transgender, Queer, and
                     Intersex (LGBTQI+) People

    Before substantially modifying or removing these resources, Defendants will

provide a notice substantially similar to the following:


3 The notice provided with respect to this page will differ from the model notice

provided here to reflect the fact that this page was not subject, and was not restored
pursuant, to this Court’s temporary restraining order.


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              NOTICE — [Month] [Day], 2025: HHS originally restored
              this page pursuant to a court order. The Agency has since
              evaluated this page for purposes of compliance with
              Executive Order 14168, the Paperwork Reduction Act, the
              Information Quality Act, and the Foundations of Evidence-
              Based Policymaking Act of 2018. Based on that evaluation,
              the Agency is temporarily maintaining the information on
              this page as it existed on [Month] [Day], 2025. Although
              HHS has not concluded that removal or modification of this
              website was inconsistent with any of the aforementioned
              statutes, HHS is temporarily maintaining this website and
              providing notice of anticipated changes. After a period of at
              least two weeks from the date of this notice, information on
              this page will be modified and/or removed.

    B.    Other Relevant Webpages.
    As to the other relevant webpages, Defendants will take lawful steps as necessary

to comply with EO 14168. These steps may include modifying information, removing

information, moving a webpage to archival status, removing a webpage altogether, or

any other action consistent with applicable law (including, but not limited to, the PRA,

the IQA, and (for designated statistical agencies) the EBPA). These steps will be taken

based on Defendants’ individualized review of each relevant webpage for compliance

with EO 14168.4

                             [Signature on Following Page]




4 Defendants will also take any necessary steps to bring each relevant webpage into

compliance with EO 14151.


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May 16, 2025                            Respectfully submitted,
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